                          IN THE UNITED STATES BANKRUPTCY COURT
                                TOR THE DISTRICT OF ARIZONA

In re:                                            CASE NO.      B- 1,~~ - ~~ k -1.~~i ~~ g ~ ~rr~~%~°~7~
         i                   ~     ~         I
                                                  CH.11 POST CONFIRMATION REPORT

                                                      ~/   QUARTERLY                  FINAL
                                                             (PLEASE CHECK)

                                                   QUARTER ENDING: s~'~(~~ ~Z~'~ r~~

                            Debtors)         )     DATE PLAN CONFIRMED:                ~ t'Ir ~Ci 1 I

SUMMARY OF DISBURSEMENTS:

 A. Disbursements made under the plan,for current quarter:                      $

S. Disbursements not under the plan, for current quarter:                       $ "~ ~~ ~ ~~ ~ ~'

                                          Total Disbursements                    $ ~ ~, ~~'S .r

         ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR,BE
         THEY UNDER THE PLAN OR OTHERWISE,MUST BE ACCOUNTED FOR
         AND REPORTED HEREIN FOR THE PURPOSE OF CALCULATING THE
         QUARTERLY FEES.

 PLEASE ANSWER THE FOLLOWING:

             What are your projections as to your ability to comply with the terms of the plan?




 2.      Please describe any factors which may materially affect your ability to obtain a final
         decree.




 3.          If plan payments have not yet begun, please indicate the date that the first plan payment
             is due.
                               ,' ! JZ    ~~
                                 oi    ~-~ ~3


      FILE ORIGINAL REPORT ELECTRONICALLY WITH THE COURT, FILE A PAPER COPY WITH U.S. TRUSTEE'S OFFICE
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SUMMARY OF AMOUNTS DISTRIBUTED UNDER THE PLAN:

                                                  Current Quarter Paid to Date   Balance Due
A. FEES AND EXPENSES:
1. Disbursing Agent Compensation                 $                    $          $
2. Fee for Attorney for Trustee                  $                    $          ~
3. Fee for Attorney for Debtor                   $                    ~
4. Other Professionals                           $                    ~          $
5. All Expenses,Including Disbursing Agent's     $                    $          $

B. DISTRIBUTIONS:
S. Secured Creditors                             $                     ~         ~
7. Priority Creditors                            $                     ~         ~
8. Unsecured Creditors                           $                     ~         $
9. Equity Security Holders                       $                     ~         $
 10. Other Payments- Specify Class of Payee       $                   $          $
                                                 $                    $          $
                                                 $                     $         $

  TOTAL PLAN DISBURSEMENTS                   $                 $                 $
   (Report Sum of Lines 1 - 10, current quarter column, on page 1, A.)

 C. Percent Dividend to be Paid to Unsecured Creditors Under Plan


SUMMARY OF PROPERTY TRANSFERRED UNDER THE PLAN:

                                               ~es~rat~tioaa ~f Pr~m~a~t5'

 Secured Creditors

 Priority Creditors

 Unsecured Creditors

 Equity Security Holders

 Other Transfers- Specify class of Transferee




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CONSUMMATION OF PLAN:


      If this is a final report, has an application for Final Decree been submitted?

               Yes Date application was submitted?

               No   Date when application will be submitted

      estimated Date of Final Payment Under Plan




      I CERTIFY UNDER PENALTY OF PERJURY THAT THE ABOVE INFORMATION IS
      TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE.




                                                   n.

      SIGNED:                                           ~-             DATE: ~~         1


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                           (PRINT NAME)




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